            Case 1:20-cr-00507-PAC Document 30
                                            29 Filed 01/13/21
                                                     01/05/21 Page 1 of 4
                                                                                     MANAGING PARTNERS
                                                                                Phillip C. Hamilton, Esq.
                                                                                  Lance A. Clarke, Esq.

               LLP
                                                                    1/13/2021
 HAMILTON ICLARKE
                                                                    The appointment is approved.
                                                                    SO ORDERED.
To:    Honorable Judge Paul A. Crotty
       United States District Court
       Southern District of New York

Re:    Miguel Angel Gonzalez
       United States v. Miguel Angel Gonzalez 20 Cr. 507 (PAC)


Dear Judge Crotty,

On July 30, 2020 I was appointed to represent Miguel Angel Gonzalez under the Criminal Justice Act,
18 U.S.C. §3006A (“CJA”). I write to request the appointment of Stacey J. Clarke as a paralegal to
assist with Mr. Gonzalez’s matter. I respectfully suggest that appointment a paralegal would represent
a cost saving measure to the Court and a time saving measure for counsel.

Discovery in Mr. Gonzalez’s matter is voluminous entailing multiple surveillance videos, photos,
calls, text messages, multiple search warrant returns, as well as forensic reports from cellphones
recovered.


Ms. Stacey Clarke has over 7 years’ experience as a bilingual legal assistant. Ms. Clarke has
researched and prepared documents for litigation, appeared on behalf of corporations in
Administrative matters, reviewed, translated, and prepared court documents as well as assisted in the
preparation of correspondence between attorneys and the Courts. Ms. Clarke has assisted defense
counsel and other attorneys on numerous cases in the past by converting, reviewing, and organizing
discovery to prepare for Counsel. Ms. Clarke is fluent in Spanish and has assisted counsel in
translating court documents as well as assisting in proffer prep with Spanish speaking clients. Ms.
Clarke has also been the liaison between defense counsel and law enforcement agencies, attorneys,
and medical providers for the purpose of obtaining case-related information.

In, United States v. Johnny Beltre, 3:16CR42 (VLB) Ms. Clarke organized the discovery essential to
Mr. Beltre, translated the documents into Spanish and assisted Counsel in reviewing the documents
with Mr. Beltre’s family who predominately spoke Spanish. In United States v Mario Acosta, 1:17-
CR-00712 (AJN), Ms. Clarke assisted with communicating with Mr. Acosta’s family as well as
organizing and reviewing discovery with Mr. Acosta’s family.

Ms. Clarke has currently been assisting defense counsel in United States v Alexandru Iordache, 1:19-
CR-00651 (LTS) in reviewing and organizing over 40 TB of discovery as well as United States v
Darrius Sutton, 1:20-cr-00323 (AMD) with reviewing audio phone calls and video surveillance to
identify segments of relevancy to categorized for client given the limited amount of time BOP inmates
have to review discovery.

A copy of Ms. Clarke’s CV is attached to this letter for the Court’s consideration. If the Court is



 www.HamiltonClarkeLLP.com          48 Wall Street, Suite 1100, New York, NY 10005      P. 212-729-0952
             Case 1:20-cr-00507-PAC Document 30
                                             29 Filed 01/13/21
                                                      01/05/21 Page 2 of 4
                                                                                     MANAGING PARTNERS
                                                                                Phillip C. Hamilton, Esq.
                                                                                  Lance A. Clarke, Esq.

               LLP
 HAMILTON ICLARKE

inclined to grant this request, I respectfully request that Ms. Clarke be appointed at the paralegal rate
of $90 per hour for up to 70 hours given her ability to both assist defense counsel in reviewing and
organizing discovery for review with Mr. Gonzalez at an economical rate.

Thank you in advance,


Lance A. Clarke




 www.HamiltonClarkeLLP.com          48 Wall Street, Suite 1100, New York, NY 10005        P. 212-729-0952
              Case 1:20-cr-00507-PAC Document 30
                                              29 Filed 01/13/21
                                                       01/05/21 Page 3 of 4
                                           Stacey J. Clarke
                          Tel: (347) 339-9053 – Email: SC@HamiltonClarkeLLP.com

PROFESSIONAL EXPERIENCE:

Hamilton Clarke, LLP                           New York, NY                                 04/20-Present
Paralegal/ Translator
   • Review, translate and organize discovery
   • Assist in the preparation of various court documents.
   • Attend meetings and assist attorney with preparation of clients for meetings with the government and law
       enforcement

Richman Property Services                      New York, NY                                     09/18-4/20
Assistant property Manager/Legal Assistant
    • Prepare documents in preparation of litigation
    • Ensuring compliance with Housing regulations
    • Ensuring building is up to code, and repairs are swiftly and properly accomplished.
    • Review and assess documentation necessary for compliance with HDC.
    • Schedule the showing of vacant units.

Bernstein Clarke & Moskovitz, PLLC             New York, NY                                    9/16-4/20
Contract Paralegal
   • Review, translate and prioritize discovery for lead attorney
   • Assist in the preparation of various court documents
   • Attend meetings and assist attorney with preparation of clients for meetings with the government and law
       enforcement

Goldberg Weprin Finkel Goldstein LLP            New York, NY                               06/16- 09/18
Legal Assistant to Partner
 • Prepared and reviewed documents for pending legal matters
 • Assisted lead attorney in ascertaining and organizing requested documents
 • Translated and prepared documents for Spanish speaking clients
 • Conducted research regarding Property data using Property Shark, NYC department of Finance, ACRIS

Kinsey Equities LLC                           New York, NY                                      07/15-04/16
Administrative Legal Assistant
• Liaison to inhouse counsel regarding landlord/tenant issues
• Organized and prepared payments for property fees and taxes.
• Located and notified delinquent accounts and arranged debt repayment schedules

K. Huang Realty Corp                            New York, NY                                   09/13- 07/15
Paralegal/Assistant Property Manager
• Organized and prepared documents to assist attorney during Housing Court matters.
• Appeared and represented corporation in Administrative Court to dispute violations against the
   Environmental control board, Department of buildings, Division of Housing and Community renewal, and
   Housing court.
• Created invoices, reports, memos, letters, finance statements and all other documents.
• Calculated and prepared payments property taxes, fees and expenses.

Arbor Education and Training                   New York, NY
Business Relations Specialist                                                                    10/11- 05/12
• Created and executed marketing plans to prospective employers.
• Sourced and canvased local neighborhoods for employment opportunities for agency’s client base.
• Carefully pre-screened clients and conduct interviews training to better prepare them for employment.
• Coordinated job fairs on-site which include workshops, introductions, interviews, and networking.
• Created and managed all reporting for our recruiters, which included detailed descriptions of each of the
   agency’s clients and transactions.
              Case 1:20-cr-00507-PAC Document 30
                                              29 Filed 01/13/21
                                                       01/05/21 Page 4 of 4
EDUCATION:

The City College of New York                  New York, NY                                Est. 06/2021
Paralegal Certificate

Licensed NY Real Estate agent/                New York, NY                                        12/2021
Notary Public                                 New York, NY                                        06/2022
Property Manager Certificate                  NYC/HPD                                             06/2015

SKILLS: Bi-lingual (English/ Spanish) Proficient in MS Office, Adobe Acrobat and legal research
